Dear Secretary Carnahan:
This opinion letter responds to your request dated December 17, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Barbara Schmitz (version 2) regarding a proposed amendment to Chapter 273, Revised Statutes of Missouri. The proposed summary statement is as follows:
Shall Missouri law be amended to:
  • require large-scale dog breeding operations to provide each dog under their care with sufficient food, clean water, housing and space; necessary veterinary care; regular exercise and adequate rest between breeding cycles;
  • prohibit any breeder from having more than 50 breeding dogs for the purpose of selling their puppies as pets; and
  • create a misdemeanor crime of "puppy mill cruelty" for any violations? *Page 2 
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours, _________________ Chris Koster Attorney General